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                                                        U.S. Department of Justice
                                                        Civil Division




                                                                April 15, 2025

By ECF
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Federal Square
Newark, New Jersey 07101

       Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
               Letter Confirming Delivery of Audio File

Dear Judge Farbiarz:

       Respondents (“the Government”) submit this letter pursuant to the Court’s instructions. A
thumb drive, which contains the audio recording of Mr. Khalil’s immigration proceedings from April
11, 2025, was delivered to this Clerk’s Office this morning.

       We thank the Court for its attention to this matter.

                                              Respectfully submitted,

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                                              Acting Assistant Attorney General
                                              Civil Division

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                                              Deputy Assistant Attorney General

                                              ALANNA T. DUONG
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